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. v. . `, . ~e!D 13
1. ClRmisTJDiv. CooE 2. PERSON REPRESEN'TED voUCHER NVMBER 8
TNW Harris, Delois
J.MAG.DKT.iDEF.NuMBER 4.DIST.DKT.mEF.NUMBER s.APPEALs nKT./oEF.NlJMBER 5.?{§1,§!1¥1)\§_1{ Mm D.C.
2:04-020392-001-!“3 "” `
7.1N cAsE.'MATTER 0F icm N.m¢) a. PA\'MF.NT CATEGORY 9. TYPE PERSoN REPRESENTED 10. REP RESENTAT\oiAR/PB, 5 9
E
U.S. v. Hams Felcmy Adult Defendant '

 

 

 

 

ll OFFENSE(S} CH ARGED (Cife U S. Cotle, Title & Seci‘iol'\.] lfmore than one ull`ense.lial lup to live] major offmses charged. according to severity ol' olTense.

l) 18 1029A. F -- PRODUCES."TRAFFICS IN COUNTERFEIT DEVICE

 

  

 

ll. ATTORNEY'S NAME [l"int Name, M..,l Last Name including anyl sul'i`is) ll COURT ORDER ` f
ANDM AILING ADDRESS IE 0 Appninting Counsel m C Co-Coua ‘D ,_,
FLOYD’ MICHAEL ij F Suba For Federal Del'ender l:l R Subs For mined Atiorney
2129 WINCHESTER RD \:l F Suhi For Panel Attorney |:i Y Staodby Counlel
MEMPHIS TN 3 81 16 l’rior Auorney's Name:

Appointment Date:

i:l Because the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she (1} ia financially nn.ahle to employ cia:nsel and
Tel,phune Numbm (901) 345-8009 (2] does nol wish to waive coonsel, and because the interests injustice so require, the
attorney whose name appears in em 11 il ted to repmen| this person in this ease,

14. N AME AND MA]LING ADDRESS OF LAW FlRM (only provide per instructiona) or
I:I Other (See Inltructions)

 

 
 
    
 
       
 
   
 
 
 
 
 
  
  
 
 
 
  

 

Signaiure of Freaicl|ng Jadlc|al OEeer or By Order ofthe Courl
DR/ /?00‘5

Dale oi' Drder Nunc Fro Tunc Dale

Repaymen| or partial repayment ordered from the person represented for this service at
time of appointment. [] YES |:i NO

 

 

 
   

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MA THrrEcH MATHrrEcH
cATEGORIES (Anach itemization of services with dmi) CE§I‘,{{RESD Al}ilg%§EsD FADN~{B§JRETD AREWEWAL

 

15. a. Arraignment and/or Plea

 

b. Bail and Detention Hearings

 

c. Motion Hearings
d. Trial

 

 

e. Sentencing.Hearings

 

f. Revocatlon Hearings

 

.-.~.:¢,¢'_\, :l-

g. Appeala Court
h. Other (Specii`y on additional aheets)

 

 

(Rate per hour = S ) TOTALS:

 

a. Interviews and Conferences

 

b. Obtaining and reviewing records

 

c. Legal research and brief writing

 

d. Travel time

 

e. Investigativ e and Other work (speciry on additional sheech

 

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(Rate per hour = 5 ) TOTALS:

 

 

l'I. Travel Expenses (lodging, parking meals, mileage, etc.)

 

 

 

18. Other Expenses (olher than eapert, transcripts etc.)

 

 

 

 

20. APPOINTMENT TERM|NATloN oATF. zl. CASE DlSPO SlTlON
IF QTHER THAN CASE coMPLeTmN

19. CERTIFICATION OF A'I'I'ORN'EYfl’AVEE FOR THE PERIOD 0 F SERVlCE

 

 

FROM 'I'O
22. C LAIM STATUS \:] Flna| Paymeot [l lncerim hyman Number _,_,_,_,,____,, [l Supplemeai.al Payment
Have you previously applied to the coart l`ia' compensation aodior remimhuraemeot for this case'.' i:i YES l:l NO ll'yes, were you pald'.' i'_'l YES m NO
Olher than from the courl` have you. or toyour knowledge has anyone elae, received payment (compenlation ur anything or value) front any other source in connection with this
representation‘.' i:] YES [] N() lfyes, give details on additional sheets.

I swear or affirm the truth or correctness of the above slatementa.

Signature of Attorney' Dal¢'

 

    

 

 

 

 

 

23. lN C()URT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES b 27. TOTAL AMT. APPRICERT
28. SIGNATURE OF THE PRESIDING JUDIC|AL OFFlCER DATE ZBa. JUDGE f MAG. JUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. 'I‘RAVEL EXPENSES 32. OTHER EXPENSES JJ. TOTAL AMT. APPROVED

34. Sllp(§'l_\|l]&'\li'l..;ll:£BFE(EHEBE‘:HB§&:C”R&IH£$F APP EALS (OR DELEGATE) Pa;ment DATE 34a. JUDGE CODE

 

 

 

 

 

This doci mem entered on the dock

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Noticc of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
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Honorablc Samuel Mays
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